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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

NOKIA TECHNOLOGIES OY,

                     Plaintiff,
                                                       C.A. No. 23-1236 (GBW)
              v.

AMAZON.COM, INC., AMAZON.COM
SERVICES, LLC, AND TWITCH INTERACTIVE,
INC.,

                     Defendants.


                         RULE 7.1 DISCLOSURE STATEMENT

       Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure, defendant Amazon.com, Inc.

states that it is a publicly held corporation, has no parent corporation, and no publicly held

corporation owns 10% or more of its stock.

       Amazon.com Services, LLC and Twitch Interactive, Inc. are wholly-owned subsidiaries of

Amazon.com, Inc.
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January 19, 2024




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                                  CERTIFICATE OF SERVICE

       I hereby certify that on January 19, 2024, I caused the foregoing to be electronically filed

with the Clerk of the Court using CM/ECF, which will send notification of such filing to all

registered participants.

       I further certify that I caused copies of the foregoing document to be served on

January 19, 2024, upon the following in the manner indicated:

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